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                      EXHIBIT C
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                                                                                                                             USOO6725402B1

(12) United States Patent                                                                              (10) Patent No.:                    US 6,725,402 B1
       COSS, Jr. et al.                                                                                (45) Date of Patent:                                Apr. 20, 2004

(54) METHOD AND APPARATUS FOR FAULT                                                                         6,315,574 B1      11/2001 Kamieniecki et al. ........ 439/16
        DETECTION OF A PROCESSING TOOLAND                                                                   6,336,055 B1       1/2002 Cho ........................... 700/121
        CONTROL THEREOF USING AN ADVANCED                                                                   (See R :           (2:         y - - - - - - - - - - - - - - - - - - - - - 7A.
                                                                                                             2- - 12                         CI C all. . . . . . . . . . . .   - --
        PROCESS CONTROL (APC) FRAMEWORK                                                                     6,546,508 B1       4/2003 Sonderman et al. .......... 714/48
                                                                                                            6556,881. B1   4/2003 Miller ........................ 700/108
(75) Inventors: Elfido Coss, Jr., Austin, TX (US);                                                           2- - - 2    :
                      Qingsu Wang, Austin, TX (US);                                                         6,606,582 B1       8/2003 Brinkman et al. .......... 702/188
                      Terrence J. Riley, Austin, TX (US)                                                               FOREIGN PATENT DOCUMENTS
                                                                                                    WO                 WOO1/18623 A1      3/2001            ......... GOSB/19/418
(73) ASSignee: has Micro Devices, Inc., Austin,                                                     W.,                WO ES: A1          3.                 - - - - - - - - - SERE
                                                                                                                           OTHER PUBLICATIONS
(*) Notice:           Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                                       International PCT Search Report dated July 3, 2001 (PCT/
                      U.S.C. 154(b) by 556 days.                                                    US01/21159; TT3217-PCT).
                                                                                                    * cited by examiner
(21) Appl. No.: 09/629,073                                                                          Primary Examiner Scott Baderman
 22) Filled:
(22)                ul. 31,
                  Jul.    31, 2000                                                                  ASSistant Examiner Anne L. Damiano
             7                                                                                      (74) Attorney, Agent, or Firm Williams, Morgan &
(51) Int. Cl.' ................................................. G06F 11/00                         AmerSon, P.C.
(52) U.S. Cl. ........................... 714/48; 700/109; 700/95;
                                                                         714/742                    (57)                        ABSTRACT
(58) Field of Search .............................. 714/4, 48, 742;                                 A method and apparatus for providing fault detection in an
                                     700/109,139, 95; 438/14                                        Advanced Process Control (APC) framework. A first inter
                                                                                                    face receives operational State data of a processing tool
(56)                      References Cited                                                          related to the manufacture of a processing piece. The State
                  U.S. PATENT DOCUMENTS                                                             data is Sent from the first interface to a fault detection unit.
                                                                                                    A fault detection unit determines if a fault condition exists
       5,661,669 A         8/1997 Mozumder et al. ......... 364/552                                 with the processing tool based upon the state data. A
       SSC A               4/1998 Berken et al - - - - - - - - - 3.Is                               predetermined action is performed on the processing tool in
            E. A : S. E. al.". 395/|S                                                               response to the presence of a fault condition. In accordance
       6.115.6 43 A        9/2000 Stine et all     - - - - - - - - - - - - - - - - -700/110         with one embodiment, the predetermined action is to shut
       6.161054A          12/2000 Rosenthalet al... 700/21                                          down the processing tool So as to prevent further production
       6,232,134 B1        5/2001 Farber et al. .................. 438/9                            of faulty wafers.
       6,263,255 B1        7/2001 Tan et al. ................... 700/121
       6,314,385 B1       11/2001 Kim et al. .................. 702/184                                                  17 Claims, 5 Drawing Sheets

                                                                                         FACTORY
                                                                                         CONTROL
                                                                                          SYSTEM
                                                                                              125




                                                                                                               DAA
                                                                                                            COLLECON
                                                                                                                 13




                                               SENSOR                                         APC FRAMEWORK
                                                 115                                                  135




                                                                                                     FAUL
                                                                                                       CTION
                                                                                                    SYSTEM
                                                                                                      120
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              1 OO
                                     FACTORY
                                     CONTROL
                                     SYSTEM
                                       125




                                                        DATA
                                                     COLLECTION
                                                        130




     SENSOR                           APC FRAMEWORK
        115                                    135




                                           FAULT
                                         DETECTION
                                             SYSTEM
                                               120




                                     Figure 1
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         Obtain Operational Tool State Data of Processing Tool
                                   410




         Tool State Data is Received at El and Accumulated in
                         Data Collection Unit
                                   420



         Translate Tool State Data from a First Communications
         Protcol to a Second Communications Protocol in a Tool
                               Data File
                                   43O



         Send Tool Data File From Data Collection Unit to Fault
                           Detection System
                                   440



          Create MRF, MAF, TAF, and Compareto Fault Model
               Data to Determine Tool Health Data of the
                            Processing Tool
                                   450




                          Figure 4A
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         Forward Tool Health Data to Plan Executor of APC
                            FrameWOrk
                                  460



              Plan Executor of APC Framework inspects
                Tool Health Data for a Fault Condition
                                  470



            Plan Executor of APC Framework Performs a
         Predetermined Action Based Upon Results of Tool
                             Health Data
                                  480




                         Figure 4B
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                                                     US 6,725,402 B1
                              1                                                                 2
    METHOD AND APPARATUS FOR FAULT                                  panying drawings, in which like reference numerals identify
   DETECTION OF A PROCESSING TOOLAND                                like elements, and in which:
   CONTROL THEREOF USING AN ADVANCED                                   FIG. 1. illustrates a manufacturing System that includes a
    PROCESS CONTROL (APC) FRAMEWORK                                 fault detection system and Advanced Process Control (APC)
                                                                    framework for providing fault detection and control of a
         BACKGROUND OF THE INVENTION                                processing tool in accordance with one embodiment;
  1. Field of the Invention                                           FIG. 2 depicts the detail of the fault detection system of
   This invention relates generally to Semiconductor fabri          FIG. 1;
cation technology, and, more particularly, to a method and             FIG. 3 shows a more detailed perspective of the APC
apparatus for fault detection and control of a processing tool      framework of FIG. 1 for controlling the operation of the
using an Advanced Process Control (APC) framework.                  processing tool; and
   2. Description of the Related Art                                   FIGS. 4A and B show a process for providing fault
   There is a constant drive in the Semiconductor industry to       detection capability for the manufacturing system of FIG. 1
increase the quality, reliability, and throughput of integrated 15 and control thereof.
circuit devices Such as microprocessors, memory devices               While the invention is susceptible to various modifica
and the like. This drive is fueled by consumer demands for tions and alternative forms, specific embodiments thereof
higher quality computers and electronic devices that operate have been shown by way of example in the drawings and are
more reliably.                                                     herein described in detail. It should be understood, however,
   These demands by the consumer have resulted in Some             that the description herein of Specific embodiments is not
improvements in the manufacture of Semiconductor devices intended to limit the invention to the particular forms
as well as in the manufacture of integrated circuit devices disclosed, but on the contrary, the intention is to cover all
incorporating Such Semiconductor devices. Reducing modifications, equivalents, and alternatives falling within
defects in the manufacture of these devices lowers the cost        the Spirit and Scope of the invention as defined by the
of the devices themselves. Accordingly, the cost of the final 25 appended claims.
product incorporating these devices is also reduced, thus                  DETAILED DESCRIPTION OF SPECIFIC
providing inherent monetary benefits to both the consumer                                EMBODIMENTS
and manufacturer.
   Although there has been an improvement in detecting                 Illustrative embodiments of the invention are described
faults associated with Semiconductor manufacturing below. In the interest of clarity, not all features of an actual
processes, one problem currently encountered by the Semi implementation are described in this specification. It will of
conductor manufacturing industry is the delay in reporting course be appreciated that in the development of any Such
these faults such that corrective measures can be imple actual embodiment, numerous implementation-specific
mented in a more expedient manner. As a result of this delay, 35 decisions must be made to achieve the developerS Specific
Several faulty devices are produced, which undesirably goals, Such as compliance with System-related and busineSS
increases costs for the manufacturer and consumer.                  related constraints, which will vary from one implementa
   The present invention is directed to overcoming, or at tion to another. Moreover, it will be appreciated that Such a
least reducing the effects of, one or more of the problems Set development effort might be complex and time-consuming,
forth above.                                                        but would nevertheless be a routine undertaking for those of
                                                                 40
            SUMMARY OF THE INVENTION                                ordinary skill in the art having the benefit of this disclosure.
   In one aspect of the present invention, a method is FIG.            Turning now to the drawings, and Specifically referring to
provided for fault detection in a manufacturing process. The Semiconductor 1, a system 100 for determining fault detection in a
method includes receiving at a first interface operational operational statefabrication            proceSS based on process tool
State data of a processing tool related to the manufacture of a processing tool 105, which in theThe
                                                                 45                     data is provided.      system 100 includes
                                                                                                           illustrated embodiment,
a processing piece. The State data is Sent from the first is in the form of Semiconductor fabrication equipment                used
interface to a fault detection unit. It is determined if a fault
condition exists with the processing tool based upon the to            produce a processing piece, Such as a Silicon wafer. The
State data, and a predetermined action is performed on the processing             tool 105, in accordance with one embodiment, is
                                                                    an Applied Materials (AMAT) Rapid Thermal Processing
processing tool in response to the presence of a fault 50 (RTP)              tool. It will be appreciated, however, that the pro
condition.
   In another aspect of the present invention, a System is cessing  RTP
                                                                              tool 105 need not necessarily be limited to an AMAT
                                                                          tool, or even to a tool for processing silicon wafers, but
provided for fault detection in a manufacturing process. The could include            other types of manufacturing equipment for
System includes a processing tool adapted to manufacture a producing a variety of different types of commercial prod
                                                                 55
processing piece and a first interface, coupled to the pro ucts without departing from the Spirit and Scope of the
cessing tool, which is adapted to receive operational State present invention.
data of the processing tool related to the manufacture of the          The processing tool 105 is coupled to an equipment
processing piece. The System further includes a fault detec
tion unit adapted to determine if a fault condition exists with 60 from the (El)
                                                                    interface         110, which retrieves various tool state data
                                                                                tool 105, and communicates this data to a fault
the processing tool based on the operational State data, and
a framework adapted to perform a predetermined action on detection system 120 via the data collection unit 130 to
the processing tool in response to the presence of a fault determine whether the tool 105 is experiencing a faulty
condition.                                                          operation. The tool State data may include, but is not
                                                                    necessarily limited to, temperature, preSSure, and gas flow
       BRIEF DESCRIPTION OF THE DRAWINGS                         65 measurements of the processing tool 105.
   The invention may be understood by reference to the                 An add-on Sensor 115 may also be coupled to the pro
following description taken in conjunction with the accom cessing tool 105 to measure additional tool state data that is
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not ascertained by the tool 105 itself. For example, the          processed by the tool 105 to fault model data, provided that
add-on sensor 115 may be used to determine whether the            the data of the model reference file differs from the fault
Silicon wafer was produced within acceptable operational          model data by a predetermined amount. The fault model data
limits by the tool 105. Such acceptable operational limits of     includes model reference files (MRFs) derived from the tool
the tool 105 may be to produce the wafer within a certain           State data of other similar-type wafers, where it was previ
temperature range, for example. It will be appreciated,             ously known that Such wafers that were processed by the
however, that the add-on sensor 115 may be used to record           tool within acceptable operational limits.
various other operational State parameters, and, thus, need            The types of faults that may be detected by the fault
not be limited to the aforementioned example.                       detection System 120 include processing and/or operational
   The sensor 115 may be embodied as a simple data                  faults in Silicon wafer fabrication. Examples of processing
acquisition program, Such as a C++ Standalone program               faults may include, but are not necessarily limited to,
acquiring data from a thermocouple wire, for example.               non-optimal preheating of the chamber, catastrophic failure
Alternatively, the sensor 115 may be embodied as a full             where a broken wafer is detected, abnormal processed gas
fledged LABVIEWE) application, acquiring data through               flow rate, temperature errors, temperature measurement
multiple transducers (not shown). It will further be appre 15 drifts, etc. Some examples of operational faults detected by
ciated that the sensor 115 need not be used at all, and the         the fault detection system 120 may include interrupted/
fault detection system 120 could rely solely upon the tool resumed processing, no wafer Sleuth or improper wafer
state data forwarded from the equipment interface 110. If sleuth prior to Rapid Thermal Anneal (RTA), etc.
used, however, the sensor 115 forwards the additional tool             The fault detection system 120, upon evaluating the
state data to the fault detection system 120 for analysis.          model reference file (MRF) 210 for the wafer currently
   A factory control system 125, such as WorkStream, for being processed by the tool 105, sends the results of poten
example, provides overall program control of the Semicon tial faults and/or proper operation of the tool 105 in the form
ductor fabrication process performed by the system 100. The of tool “health” data to the Advanced Process Control (APC)
control System 125 provides Signals to the equipment inter framework 135 (see FIGS. 1 and 2). The APC framework
face 110 to control the processing tool 105, such as starting 25 135, in turn, may send control Signals to the equipment
and Stopping the operation of the tool 105, for example. interface 110 to control the processing tool 105 based upon
When the tool 105 is operating and processing a given wafer, the tool health data results forwarded from the fault detec
the tool state data is received by the equipment interface 110 tion system 120. For example, the signal sent from the APC
and collected by a data collection unit 130 as the data is sent framework 135 may be to shut down the tool 105 to prevent
from the processing tool 105 while the particular wafer is any additional faulty production of wafers. Data could also
being processed. The data collection unit 130 converts the be sent from the APC framework 135 to inform a technician
tool State data into a tool data file for the particular wafer on how to rectify a faulty condition of the tool 105, if so
being processed, and forwards the file to the fault detection desired. In accordance with another embodiment, the APC
System 120 for analysis in near real-time. In one framework 135 may also forward a copy of the tool health
embodiment, if the proceSS is long, the proceSS may be 35 data to the equipment interface 110, and the equipment
broken up into parts. The data collection unit 130, when interface 110 could forward the copy of the tool health data
converting the tool State data into a tool data file, translates to the factory control System 125, which may average the
this data from a first communications protocol used by the tool health data and plot a chart of the data or averaged data
equipment interface 110 to a Second communications pro for Viewing by a fab technician.
tocol compatible with a Software running on the fault 40 Turning now to FIG. 3, a more detailed representation of
detection system 120. The process for translating the tool the APC framework 135 is provided. The APC framework
State data into tool data files is specific to the particular fault 135 is a component-based architecture comprised of
detection Software that is operating on the fault detection interchangeable, Standardized Software components
system 120.                                                         enabling run-to-run control of the processing tool 105. The
   Referring now to FIG. 2, a more detailed representation of 45 APC framework 135 includes a machine interface (MI) 310
the fault detection system 120 is provided. The fault detec for interfacing the tool 105 through the equipment interface
tion system 120 receives the tool data files as converted from 110 to the framework 135 for providing control of the tool
the data collection unit 130 at a server 205. In accordance       105. The APC framework 135 further includes a Sensor
with one embodiment, the server 205 runs Model Ware(E), a         interface (SI) 320 for interfacing the add-on sensor 115 with
commercially available Software package that provides fault 50 the framework 135. In accordance with one embodiment, the
detection analysis of the processing tool 105 based upon the sensor interface 320 may be adapted to collect the tool state
tool data files that are derived from the tool state data for   data of the processing tool 105 through the sensor 115 as
each wafer processed by the tool 105. It will be appreciated, opposed to having the data Sent directly to the fault detection
however, that other types of fault detection Software may system 120. In this embodiment, the tool state data from the
also be used in lieu of Model Ware(R) without departing from 55 sensor 115 is sent to the fault detection system 120 via the
the Spirit and Scope of the present invention.                  APC framework 135. Furthermore, although only one sensor
   For each wafer processed by the tool 105, a model interface 320 is shown in FIG. 3, it will be appreciated that
reference file (MRF) 210 is constructed from the tool data Several Sensor interfaces may be included within the frame
file that was forwarded from the data collection unit 130.      work 135 without departing from the spirit and scope of the
The model reference file (MRF) 210 provides the current 60 present invention.
state of the tool 105 on a near real-time basis for each wafer      A plan executor (PE) 330 (i.e., a process controller)
that is being processed. When a lot of wafers is finished    manages the APC framework 135 and provides possible
being processed by the tool 105, the model reference file    solutions to problems found with the tool health data that
(MRF) 210 for each wafer of the lot is compiled into a model was forwarded by the fault detection system 120. The
archive file (MAF) 215 by the server 205. The server 205 65 framework 135 further includes an applications interface
also constructs a tool alarm file 220 by comparing the model (AI) 340 for interfacing with third-party applications that
reference file (MRF) 210 of the wafer currently being run on the fault detection system 120. In the illustrated
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                            S                                                                   6
embodiment, the third-party application is the Model Ware         fault condition may be for the plan executor 330 to send a
Software package running on the fault detection Server 205.       control Signal to the machine interface 310 and equipment
A data channel 350 is further provided to allow for com           interface 110 to shut down the tool 105 so as to prevent
munication between the machine and Sensor interfaces 310,         further manufacturing of faulty Silicon wafers. The plan
320, the plan executor 330, and the applications interface        executor 330, in addition to shutting down the tool 105, may
340 of the APC framework 135.                                     also apprise a technician of any potential Solutions to rectify
   The machine interface 310 couples to the equipment             the fault condition through an operator interface (not shown)
interface 110 to Serve as an interface between the processing     Such as a graphical user interface (GUI), for example, before
tool 105 and the APC framework 135. The machine interface
                                                                  the tool 105 may commence operation once again.
                                                                  Alternatively, the predetermined action performed by the
310 Supports the Setup, activation, and monitoring of the tool    plan executor 330 may be to forward a copy of the tool
105. It receives commands and status events from the
                                                                  health data to the equipment interface 110, and then to
equipment interface 110 and forwards this information to forward the health data to the workstream 125.
other components of the APC framework 135, namely the              Turning now to FIGS. 4A and 4B, a process 400 for fault
plan executor 330 and applications interface 340. Any detection
responses that are received by the machine interface 310 provided. based
                                                             15                   upon tool State operational parameters is
from the other components of the APC framework 135 are the tool state data of the400
                                                                          The  process        commences at block 410 where
                                                                                          processing  tool 105 is obtained. The
routed to the equipment interface 110 for delivery to the tool state data may be obtained from            the tool 105 itself or
processing tool 105. AS previously discussed, this may through an add-on Sensor 115. In accordance                    with one
include a signal from the plan executor 330 to manipulate embodiment, the tool State data may include temperature,
the tool 105 if a faulty condition is detected.                 preSSure, and gas flow measurements from the processing
   The machine interface 310 also reformats and restructures    tool 105.
the messages between the Specific communications protocol          Once the tool State data is obtained through the processing
utilized by the equipment interface 110 and the Common tool 105, the data is received at the equipment interface 110,
Object Request Broker Architecture Interface Definition           and is accumulated in the data collection unit 130 at block
Language (CORBAIDL) communications protocol used by 25 420. At block 430, the data collection unit 130 converts the
the components of the APC framework 135. The manner in            tool State data received for each wafer processed by the tool
which the machine interface 310 performs such translation         105 from a first communications protocol used by the
between the equipment interface-specific communications           equipment interface 110 to a Second communications pro
protocol and the CORBA IDL protocol of the APC frame              tocol in the form of a tool data file. The data collection unit
work 135 is well known to those of ordinary skill in the art. 130, when converting the tool state data into a tool data file,
Accordingly, the Specific translation process between these   translates this data into the Second communications protocol
two formats will not be discussed herein to avoid unneces
Sarily obscuring the present invention.                       that is compatible  with the Software package running on the
                                                              fault detection system 120, which is the Model Ware soft
   The sensor interface 320 serves as an interface between 35 ware package in the illustrated embodiment. Subsequent to
the add-on sensor 115 and the APC framework 135. The          creating the tool data file for each wafer currently being
Sensor interface 320 provides Setup, activation, monitoring, processed by the tool 105, the data collection unit 130
and data collection for the add-on sensor 115. Similar to the forwards the tool data file to the fault detection system 120
machine interface 310, the sensor interface 320 also refor    at block 440. The fault detection server 205 of the fault
mats and restructures the messages between the Specific 40 detection system 120 generates a model reference file 210,
communications protocol utilized by the sensor 115 and the adds the model reference file (MRF) to the model archive
CORBA IDL protocol used by the components of the APC file (MAF) 215 for the lot of wafers processed, and generates
framework 135.                                                    a tool alarm file 220 based on the tool data file received from
  The applications interface 340 Supports the integration of      the data collection unit 130. The fault detection server 205
third-party tools (e.g., commercial Software packages, Such 45 further compares the model reference file 210 for the wafer
as Model Ware, Matlab, and Mathematica, for example) to currently being processed by the tool 105 to fault model
the APC framework 135. Typically, these third-party tools data, and generates tool health data for the wafer at block
do not provide the standard CORBAIDL protocol known to 450.
the APC framework 135. Accordingly, the applications               At block 460, the fault detection system 120 forwards the
interface 340 provides the necessary translation between the 50 tool health data to the plan executor 330 of the APC
communications protocol utilized by the third-party tool and framework 135 via the applications interface 340. At block
the CORBA protocol used by the APC framework 135. In 470, the plan executor 330 inspects the tool health data for
the illustrated embodiment, the third-party tool is the fault the particular wafer being processed by the tool 105. At
detection system 120 for analyzing the tool state data of the block 480, the plan executor 330 performs a predetermined
processing tool 105 that is supplied via the data collection 55 action based upon the inspection. In accordance with one
unit 130 and the sensor 115. As previously discussed, the embodiment, the predetermined action may be to Send a
fault detection system 120 includes Model Ware(R) software control signal to shut down the processing tool 105 if the
for providing fault detection in the illustrated embodiment. tool health data is deemed faulty. In an alternative
   The plan executor 330 performs a predetermined action embodiment, the plan executor 330 may forward the tool
based upon the tool health data results that are Supplied by 60 health data of the tool 105 to the equipment interface 110.
the fault detection system 120. When the applications inter The equipment interface 110 would then forward the tool
face 340 receives the results from the fault detection system health data to the workstream 125, where the tool health data
120, it forwards a copy of the results to the plan executor may be averaged and plotted on a chart for viewing by a fab
330. Upon inspection of the results, the plan executor 330 technician, if So desired.
attempts to rectify the fault condition found with the tool 105 65 The particular embodiments disclosed above are illustra
by performing a predetermined action. In accordance with tive only, as the invention may be modified and practiced in
one embodiment of the present invention, the Solution to a different but equivalent manners apparent to those skilled in
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the art having the benefit of the teachings herein.                     8. A System comprising:
Furthermore, no limitations are intended to the details of              a processing tool adapted to manufacture a processing
construction or design herein shown, other than as described               piece,
in the claims below. It is therefore evident that the particular        a first interface, coupled to the processing tool, the first
embodiments disclosed above may be altered or modified                     interface adapted to receive operational State data of the
and all Such variations are considered within the Scope and                processing tool related to the manufacture of the pro
Spirit of the invention. Accordingly, the protection Sought                cessing piece;
herein is as set forth in the claims below.                             a fault detection unit adapted to determine if a fault
  What is claimed is:                                                      condition exists with the processing tool based on Said
                                                               1O
  1. A method comprising:                                                  operational State data;
  receiving at a first interface operational State data of a            a framework adapted to perform a predetermined action
     processing tool related to the manufacture of a process               on the processing tool in response to the presence of a
     ing piece,                                                           fault condition;
  Sending the State data from the first interface to a fault 15         wherein the first interface comprises a data collection unit
     detection unit, wherein the act of Sending comprises:                adapted to receive and accumulate the State data as the
     Sending the State data from the first interface to a data            data is received by the first interface, translate the State
       collection unit;                                                   data from a first communications protocol to a Second
     accumulating the State data at the data collection unit;             communications protocol compatible with the fault
     translating the State data from a first communications               detection unit, and to Send the translated State data from
        protocol to a Second communications protocol com                  the data collection unit to the fault detection unit;
        patible with the fault detection unit; and                      wherein the fault detection unit is further adapted to send
     Sending the translated State data from the data collec               an alarm Signal indicative of the fault condition to the
       tion unit to the fault detection unit;                             framework from the fault detection unit providing that
  determining if a fault condition exists with the processing 25          a fault condition of the processing tool was determined
    tool based upon the state data received by the fault                  by the fault detection unit; and
     detection unit;                                                    wherein the framework is further adapted to Send a
  performing a predetermined action on the processing tool                control signal to the first interface reflective of the
    in response to the presence of a fault condition; and                 predetermined action providing that a fault condition
  Sending an alarm Signal indicative of the fault condition to            exists.
    an advanced process control framework from the fault                9. The system of claim 8, further comprising:
    detection unit providing that a fault condition of the              a Sensor, coupled to the processing tool, the Sensor
    processing tool was determined by the fault detection                  adapted to receive additional State data from the pro
     unit,                                                         35      cessing tool, and to Send the data to the fault detection
  wherein performing a predetermined action further com                   unit.
      prises Sending a Signal by the framework to the first            10. The system of claim 8, wherein the fault detection unit
      interface reflective of the predetermined action.             is further adapted to compare the State data of the processing
  2. The method of claim 1, wherein performing a prede tool to predetermined State data to determine the presence of
termined action further comprises:                               40
                                                                    the fault condition.
  shutting down the processing tool providing that a faulty            11. The system of claim 10, wherein the fault detection
      condition exists.                                             unit  is adapted to compare the State data received to fault
  3. The method of claim 1, further comprising:                     model data that is derived from other similar-type wafers,
  receiving additional State data of the processing tool from where          it was previously known that Such wafers were
                                                                    processed within acceptable operational limits.
      a Sensor that is coupled to the processing tool; and       45
                                                                       12. The system of claim 8, wherein the predetermined
  Sending the additional State data to the fault detection unit.    action is to shut down the processing tool.
  4. The method of claim 3, further comprising:                        13. The system of claim 8, wherein the data collection unit
  translating the State data from the Sensor from a first is further adapted to Send the accumulated State data to the
      communications protocol used by the Sensor to a Sec 50 fault detection unit while a processing piece is being pro
      ond communications protocol used by the fault detec cessed by the tool.
      tion unit.                                                       14. The system of claim 8, wherein the processing tool is
  5. The method of claim 1, wherein determining if the fault a Semiconductor fabrication tool, and the processing piece is
condition exists, further comprises:                                a Silicon wafer.
  comparing the State data received at the first interface to 55 15. An apparatus, comprising:
      predetermined State data at the fault detection unit.            an interface adapted to receive operational State data from
   6. The method of claim 5, wherein comparing comprises                  a processing tool and to provide the operational State
comparing the State data received to fault model data that is             data;
derived from other Similar-type wafers, where it was previ             a controller adapted to:
ously known that Such wafers were processed within accept 60              receive the operational State data from the interface,
able operational limits.                                                  determine if a fault condition exists with the processing
  7. The method of claim 1, wherein sending the accumu                       tool based on the operational State data received from
lated State data from the data collection unit to the fault                  the interface; and
detection unit, further comprises:                                        perform a corrective action on the processing tool in
  Sending the accumulated State data from the data collec 65                response to the presence of a fault condition,
     tion unit to the fault detection unit while a processing           wherein the controller is adapted to perform the prede
     piece is being processed by the tool.                                termined action comprises the controller adapted to
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                             9                                                               10
     Send a Signal to the interface reflective of the prede-     17. The apparatus of claim 15, wherein the controller is
     termined action.                                          adapted to compare at least a portion of the operational data
  16. The apparatus of claim 15, wherein the controller is     to model data to determine if a fault condition exists.
adapted to shutdown the processing tool in response to the
presence of the fault condition.                                                     k   .    .   .   .
